Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 1 of 25




               Exhibit 11
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 2 of 25
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 1                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
 2
 3         IN RE: ROUNDUP                  )
           PRODUCTS LIABILITY              )   MDL No. 2741
 4         LITIGATION                      )
           _____________________           )   Case No.
 5         THIS DOCUMENT RELATES           )   16-md-02741-VC
           TO ALL CASES                    )
 6
 7                    TUESDAY, JANUARY 23, 2018
 8       CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
 9                                  – – –
10                  VIDEOTAPED DEPOSITION of JENNIFER R.
11    RIDER, ScD, held at the offices of Cetrulo LLP,
12    2 Seaport Lane, Boston, Massachusetts,
13    commencing at 2:39 p.m., on the above date, before
14    Maureen O'Connor Pollard, Registered Merit
15    Reporter, Realtime Systems Administrator,
16    Certified Shorthand Reporter.
17                                  – – –
18
19

                     GOLKOW LITIGATION SERVICES
20              877.370.3377 ph | 917.591.5672 fax
                             deps@golkow.com
21
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24
25

Golkow Litigation Services                                      Page 1 (1)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 3 of 25
             Confidential - Pursuant to Protective Order
                                             Page 2                                                Page 4
 1         APPEARANCES:                                 1       PROCEEDINGS
 2 ANDRUS WAGSTAFF                                      2
 3
   BY: DAVID J. WOOL, ESQUIRE
     david.wool@andruswagstaff.com                      3        THE VIDEOGRAPHER: We are now on the
 4
     7171 West Alaska Drive                             4 record. My name is Chris Coughlin, and I'm a
     Lakewood, Colorado 80226
 5
     303-376-6360                                       5 videographer for Golkow Technologies. Today's
                                                        6 date is January 23, 2018, and the time is 2:39.
 6
            -and-
                                                        7        This video deposition is being held in
   THE MILLER FIRM LLC
 7 BY: JEFFREY A. TRAVERS, ESQUIRE                      8 Boston, Massachusetts in the matter of Roundup

 8
     jtravers@millerlawllc.com                          9 Products Liability Litigation, MDL Number 2741,
         108 Railroad Avenue                           10 United States District Court, Northern District
 9
         Orange, Virginia 22960
         540- 672-4224                                 11 of California, Case Number 16-md-02741-VC.
10
         Counsel for Plaintiffs
                                                       12        The deponent is Dr. Jennifer Rider.
11
                                                       13        Will counsel please identify
12
   HOLLINGSWORTH LLP
   BY: ERIC LASKER, ESQUIRE                            14 yourselves and state whom you represent.
     elasker@hollingsworthllp.com                      15
13      1350 I Street, N.W.                                      MR. WOOL: David Wool from Andrus
14
        Washington, DC 20005                           16 Wagstaff for the plaintiffs.
        202-898-5800                                   17
        Counsel for Defendant Monsanto                           MR. TRAVERS: Jeffrey Travers with The
15
                                                       18 Miller Firm for the plaintiffs.
16
17                                                     19        MR. LASKER: Eric Lasker,
18
                                                       20 Hollingsworth LLP, for Monsanto.
19
   VIDEOGRAPHER:
                                                       21        MR. WOOL: The court reporter is
   CHRISTOPHER COUGHLIN,
20 Golkow Litigation Services                          22 Maureen O'Connor, and she will now swear in the
21             –––                                     23 witness.
22
23                                                     24
24                                                     25
25

                                             Page 3                                                Page 5
 1                 INDEX                                1         JENNIFER R. RIDER, ScD,
 2
     EXAMINATION                               PAGE     2 having been first duly identified and sworn, was
     JENNIFER R. RIDER, ScD
 3
      BY MR. WOOL                              5        3 examined and testified as follows:
 4                                                      4             EXAMINATION
          EXHIBITS
 5
     NO.      DESCRIPTION                       PAGE    5 BY MR. WOOL:
     33-1 Supplemental Expert Report of                 6    Q. Good afternoon, Dr. Rider.
 6       Jennifer R. Rider, ScD............ 10
 7                                                      7    A. Hi.
     33-2 Andreotti, et al article,
 8
         Glyphosate Use and Cancer                      8    Q. How are you doing?
         Incidence in the Agricultural                  9
         Health Study...................... 10               A. Good. Thank you.
 9                                                     10
     33-3 Agricultural Health Study......... 10              Q. So one, I know we haven't met before,
10                                                     11 and I know that you've been through this process

11
     33-4 Blair, et al article,                        12 before, but I can tell that you are somewhat
         Reliability of Reporting on
12
         Life-Style and Agricultural                   13 eager to give your answers, so if you'll just
         Factors by a Sample of                        14 give me a moment to finish my questions and let
13
         Participants in the Agricultural
14
         Health Study from Iowa............ 33         15 counsel get in his objections where he wants to,
     33-5 Montgomery, et al Author                     16 I think that will make the court reporter's job
15
         Manuscript, Characteristics of
         non-participation and potential               17 a little bit easier.
16
         for selection bias in a
17
         prospective cohort study.......... 39         18    A. Okay.
     33-6 Heltshe, et al article, Using                19
         multiple imputation to assign                       Q. Fair enough?
18       pesticide use for non-responders              20
         in the follow-up questionnaire                      A. Mm-hmm.
19       in the Agricultural Health Study.. 50         21    Q. So I have marked as Exhibit 1 a copy
20   33-7 Benbrook article, Trends in                  22 of your supplemental expert report.
21
         glyphosate herbicide use in the
22
         United States and globally........ 74         23    A. Mm-hmm.
23                                                     24    Q. Now, does that expert report, along
24                                                     25 with the original expert report that you
25

Golkow Litigation Services                                                         Page 2 (2 - 5)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 4 of 25
             Confidential - Pursuant to Protective Order
                                            Page 6                                               Page 8
 1 authored in this litigation, include all of your    1
                                                       questionnaire for an occupational exposure
 2 opinions for the Andreotti study?                 2 study?
 3        MR. LASKER: Objection to form.             3        MR. LASKER: Objection to form.
 4    A. I can't say that it includes all of my      4    A. Like I said, I don't do occupational
 5 opinions, but I felt like it covered the most     5 epidemiology in my own research, so no, I
 6 important issues.                                 6 wouldn't have designed those types of questions.
 7 BY MR. WOOL:                                      7 But I have contributed to questions that have
 8    Q. Since you authored that report, have        8 appeared on questionnaires for fairly high
 9 you read anything that changes any of the         9 profile observational studies.
10 opinions that are described in that report?      10 BY MR. WOOL:
11    A. No.                                        11    Q. Just to make things easier for me, how
12    Q. Now, in preparing that report, did         12 does occupational exposure epidemiology differ
13 anybody assist you in summarizing literature? 13 from what you do?
14    A. No.                                        14        MR. LASKER: Objection to form.
15    Q. You wrote the report by yourself           15    A. So in my view, I think occupational
16 without the assistance of, say, a grad student   16 epidemiology is just looking specifically at
17 or a teaching assistant?                         17 exposures a person would encounter while they
18    A. That is correct.                           18 are working. But the -- how we handle these
19    Q. All right. And have you read any of        19 exposures in study design and analytics really
20 the plaintiff expert reports that were submitted 20 isn't very different from looking at any other
21 pursuant to Pretrial Order 34, which is the      21 lifestyle exposure, which is something that I do
22 Order that required the supplemental reports?    22 in my own work.
23    A. Yes, I have.                               23 BY MR. WOOL:
24    Q. Which expert reports have you read, if 24 Q. And you've served as a peer review --
25 you recall?                                      25 strike that.

                                            Page 7                                               Page 9
 1    A. Yes. I have read Dr. Ritz's report,           1        You have served as a peer reviewer for
 2 and Dr. Neugut's report, and I believe I also       2 various epidemiological journals, correct?
 3 took a quicker look at Dr. Portier's report.        3    A. That is correct.
 4    Q. All right. Do you believe that                4    Q. And in your capacity as a peer
 5 exposure is accurately assessed in the Andreotti    5 reviewer, have you ever peer-reviewed any
 6 study?                                              6 occupational exposure studies?
 7    A. So I think that the authors did a good        7    A. I can't recall a specific example, but
 8 job of making sure that even if there would be      8 it wouldn't surprise me if I have.
 9 some imperfect measurement of exposure like we      9    Q. So it's possible?
10 have in all epidemiologic studies, that it had     10    A. It's very possible that I have. But I
11 very little impact on the findings.                11 have peer-reviewed a lot of articles.
12    Q. So it's fair to say that all                 12    Q. Fair enough.
13 epidemiological studies have some degree of        13        And the Andreotti study evaluated
14 inaccuracy?                                        14 exposure data, correct?
15    A. Yes. I don't think we could find an          15    A. Well, they related GBH use to various
16 example of an epidemiologic study where there's    16 cancer outcomes, yes.
17 absolutely perfect reporting when you're talking   17    Q. Let's -- actually I'm just going to
18 about a long-term follow-up of participants.       18 mark this as Exhibit 2, which is the Andreotti
19    Q. Have you ever collected occupational         19 study.
20 exposure data for an epidemiological study?        20        MR. WOOL: Here is a copy of it,
21    A. No. I don't do occupational                  21 Counsel.
22 epidemiology, but I certainly do epidemiology      22        And I will mark as Exhibit 3 a copy of
23 that deals with questionnaire data and cancer      23 the enrollment questionnaire.
24 outcomes.                                          24
25    Q. Now, have you ever designed a                25


Golkow Litigation Services                                                       Page 3 (6 - 9)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 5 of 25
             Confidential - Pursuant to Protective Order
                                           Page 10                                               Page 12
 1        (Whereupon, Exhibit Number 33-1,             1         MR. LASKER: Objection to form.
 2        Supplemental Expert Report of Jennifer       2    A. I would have to look more carefully at
 3        R. Rider, ScD, Number 33-2, Andreotti,       3 this document to confirm that.
 4        et al article, Glyphosate Use and            4         (Witness reviewing document.)
 5        Cancer Incidence in the Agricultural         5    A. Yeah, I mean, it seems reasonable that
 6        Health Study, and Number 33-3,               6 this is the enrollment questionnaire and not the
 7        Agricultural Health Study, were marked       7 take-home questionnaire, which they also did.
 8        for identification.)                         8 But I can't be sure just from looking at this,
 9        MR. LASKER: Which one?                       9 no.
10        MR. WOOL: This is the private               10    Q. Well, if you turn to the very first
11 applicator questionnaire.                          11 page, you will see --
12 BY MR. WOOL:                                       12    A. Enrollment questionnaire, yes. Thank
13    Q. Now, have you seen this document             13 you.
14 before?                                            14    Q. So we agree this is the enrollment
15    A. The private applicator questionnaire,        15 questionnaire --
16 or this study? Sorry, which one are we talking     16    A. Yes.
17 about?                                             17    Q. -- by private applicators.
18    Q. The private applicator questionnaire,        18         Now, cohort members were also asked
19 Exhibit 33-3.                                      19 about the use of protective equipment, correct?
20    A. I have gone online to the Agricultural       20    A. Correct.
21 Health Study website, but I believe I have spent   21    Q. And if you turn to Page 15, Question
22 more time looking at the commercial applicator     22 17 asks about the use of protective equipment,
23 questionnaire.                                     23 correct?
24    Q. The commercial applicator enrollment         24    A. That is correct.
25 questionnaire?                                     25    Q. And Question 17 is not specific to any
                                           Page 11                                               Page 13
 1    A. Correct. Yes.                                 1
                                                       herbicide, is it?
 2    Q. And the Andreotti study evaluated both      2    A. It just says, "What type of protective
 3 private applicators and commercial applicators,   3 equipment do you generally wear when you
 4 correct?                                          4 personally handle pesticides?" So that is
 5    A. Yes. So they all were people who were       5 correct.
 6 enrolled while they were getting their pesticide  6    Q. And so if somebody used more than one
 7 license, their applicator license.                7 pesticide and multiple types of protective
 8    Q. All right. So if you look at                8 equipment, this questionnaire would not
 9 Exhibit 3, Page 10, at the very top you will see  9 distinguish which specific type of protective
10 questions about Roundup, Jury, or glyphosate.    10 equipment applied to which pesticide, would it?
11       Do you see that?                           11    A. It doesn't appear this questionnaire
12    A. I do.                                      12 would. I believe if we looked at the commercial
13    Q. And the questionnaire asked whether        13 pesticide applicator questionnaire, that one
14 the cohort member has ever personally mixed or 14 distinguishes at least by different classes of
15 applied the herbicide, how many years they       15 pesticides.
16 personally mixed or applied the herbicide, and   16    Q. Do you know approximately how many of
17 an average how many days per year they used it 17 the cohort members were commercial applicators
18 along with when they first used the herbicide,   18 versus private applicators?
19 correct?                                         19    A. I would need to look back. I don't
20    A. Mm-hmm.                                    20 recall offhand, no.
21    Q. All right. And this is the -- so the       21    Q. I believe if you look at -- let's see.
22 questions on Page 10 on, I believe, row H are    22 Well, we can go back to that actually.
23 the questions that form the baseline exposure    23    A. Okay.
24 assessment for the Andreotti study for private   24    Q. Now, if you look at Question 16 still
25 applicators, correct?                            25 in the questionnaire, Page 15.


Golkow Litigation Services                                                     Page 4 (10 - 13)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 6 of 25
            Confidential - Pursuant to Protective Order
                                          Page 14                                               Page 16
 1    A. Okay.                                        1
                                                    the licensing requirements. I just know that
 2    Q. Question 16 asks, "How do you            2 that is how they enrolled the cohort, so that in
 3 personally apply pesticides?" Correct?         3 many ways the cohort would be more able to give
 4    A. Correct.                                 4 good quality information on pesticide use.
 5    Q. And Question 16 does not ask cohort      5    Q. Is the use of personal protective
 6 members to describe the application method     6 equipment something that could impact actual
 7 specific to a pesticide, does it?              7 exposure to glyphosate?
 8    A. That is correct. Again, I think this     8    A. I mean, I think we have data from
 9 is different than in the commercial            9 several biomonitoring studies that suggest that
10 questionnaire. But on this one, that is       10 yes, it does.
11 correct.                                      11    Q. And in what way does the use of
12    Q. So if somebody used multiple            12 personal protective equipment impact actual
13 pesticides, again we would have no way of     13 exposure to glyphosate?
14 knowing which application method applied to 14      A. Well, I mean, I think it's reasonable
15 which pesticide, would we?                    15 to think that if you are wearing personal
16        MR. LASKER: Objection to form.         16 protective equipment, you might have a lower
17    A. That is correct. I mean, we would       17 internal dose of glyphosate exposure.
18 know how frequently they used particular      18    Q. And how did the authors in Andreotti
19 pesticides, but not the application method    19 use the information about personal protective
20 specifically for each one.                    20 equipment?
21 BY MR. WOOL:                                  21    A. They used it in their intensity
22    Q. Okay. Now, if we look at the            22 measures. There's an algorithm for which they
23 Andreotti study, Table 1, I think there's a   23 calculated intensity of use, and personal
24 breakdown of the percentage of private        24 protective equipment was incorporated into that
25 applicators versus commercial applicators, if 25 algorithm.

                                          Page 15                                               Page 17
 1 you go under "applicator type."                    1    Q. Are you familiar with the term
 2        Do you see that?                            2 exposure misclassification?
 3    A. Yes, I do.                                   3    A. Yes, I am.
 4    Q. Okay. And at least for the kind of           4    Q. What does that term mean to you?
 5 ever-never -- or not never side. Okay.             5        MR. LASKER: Objection to form.
 6        And so in the first column we are           6    A. It means the degree to which you are
 7 looking at -- sorry, strike that.                  7 assigning a participant the wrong value for
 8        In the first column of Table 1 we are       8 exposure, and it can be either differential or
 9 looking at never used glyphosate, correct?         9 non-differential with respect to the outcome.
10    A. Correct.                                    10 BY MR. WOOL:
11    Q. And the total number of private             11    Q. And what is the difference between
12 applicators is 8,476?                             12 differential and non-differential just so we're
13        MR. LASKER: Objection to form.             13 clear?
14 Mischaracterizes the document.                    14    A. So non-differential -- if we're
15    A. So there are 91 percent of those who        15 talking about exposure misclassification,
16 never used glyphosate were private applicators,   16 non-differential exposure misclassification
17 meaning that's the majority of glyphosate users   17 would mean that you're providing the wrong
18 were commercial applicators.                      18 information on exposure equally as often in
19 BY MR. WOOL:                                      19 those who do and do not go on to develop the
20    Q. Okay. And the cohort members were all       20 outcome of interest, whereas differential, there
21 restricted use pesticide applicators, correct?    21 would be some difference in that
22    A. They all had to have their license.         22 misclassification according to disease status.
23 That is how they were enrolled.                   23    Q. And is non-differential exposure
24    Q. What is a restricted use pesticide?         24 misclassification a type of systematic error
25    A. I'm not exactly sure what goes into         25 that can occur in an epidemiological study?


Golkow Litigation Services                                                    Page 5 (14 - 17)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 7 of 25
             Confidential - Pursuant to Protective Order
                                           Page 18                                               Page 20
 1        MR. LASKER: Objection to form.               1 the exposure is being misclassified. And then I
 2     A. I guess it is a type of error that           2 also mentioned there's also this random error
 3 could create a bias, if that's what you mean by     3 issue, and so, in general, that's less of a
 4 systematic error.                                   4 problem in larger studies.
 5 BY MR. WOOL:                                        5    Q. And accurate exposure assessments are
 6     Q. Have you heard the term systematic           6 important in large cohort studies, correct?
 7 error before as it relates to epidemiological       7         MR. LASKER: Objection to form.
 8 studies?                                            8    A. Well, yeah. I mean, I think our goal
 9     A. Yes, some people use that term. But          9 is to measure the exposure that we're thinking
10 it's one of these terms that's used to mean very   10 to -- that we're hoping to relate to a
11 different things.                                  11 particular outcome. And so in my own work I
12     Q. Just so I'm clear, if I use the term,       12 want to get as close as I can to measuring that
13 what does the term mean to you?                    13 exposure correctly.
14        MR. LASKER: Objection to form.              14 BY MR. WOOL:
15     A. So I wouldn't really talk about             15    Q. And do you believe the exposure
16 systematic error. I would talk about the           16 assessment in the Andreotti study is accurate?
17 specific type of bias that we're talking about.    17    A. So I think they did a number of things
18 BY MR. WOOL:                                       18 to ensure that they were getting very good
19     Q. Okay. Do you believe that exposure          19 exposure reporting. I think, you know, first of
20 misclassification can bias the results of an       20 all, just including a cohort of licensed
21 epidemiological study towards the null?            21 applicators, they were likely to get much better
22        MR. LASKER: Objection to form.              22 information than, say, in some of the
23     A. So you're asking if non-differential        23 case-control studies that had been conducted
24 misclassification can bias the results toward      24 previously. And they also -- you know, they
25 the null?                                          25 have the initial baseline exposure, they have

                                           Page 19                                               Page 21
 1 BY MR. WOOL:                                        1
                                                      follow-up exposure, they look at exposure
 2    Q. Yes.                                       2 classified in several different ways, so yeah,
 3    A. On average, that tends to be what          3 so I think they did a good job in measuring the
 4 happens, especially when we're looking about     4 exposure.
 5 dichotomous exposures, but there's also random   5    Q. And what is selection bias, just so
 6 error. So you can't always expect that a point   6 we're clear on that term?
 7 estimate will be biased towards the null in a    7    A. So the sort of structural definition
 8 given study.                                     8 of selection bias is when you're conditioning on
 9    Q. And can exposure misclassification         9 an effect of both exposure and disease. So in
10 impact the relative risk of a study?            10 other words, one example would be if -- you
11        MR. LASKER: Objection to form.           11 know, getting into the analysis of your study
12    A. So again, are you talking specifically    12 depends on both exposure and disease.
13 about non-differential exposure?                13    Q. Now, if we turn to Page 7 of
14 BY MR. WOOL:                                    14 Exhibit 2, which is the Andreotti study.
15    Q. Let me clarify my question.               15    A. Okay.
16        Can non-differential exposure            16    Q. If you look in the left-hand column.
17 misclassification impact the relative risk      17    A. Sorry, we're on Page 7 you said?
18 estimate in an epidemiological study?           18    Q. Correct.
19    A. Yes, it can.                              19    A. Yes.
20    Q. Can it have a substantial impact upon     20    Q. I mean, I'm sorry, not the left-hand
21 relative risk estimates?                        21 column, the right-hand column.
22    A. It depends on a number of factors. So     22    A. Okay.
23 again, if we're just talking about              23    Q. Okay. At the top of the paragraph,
24 non-differential misclassification of exposure, 24 second to the bottom, the authors state that
25 you know, we need to know the degree to which 25 "This evaluation has some limitations that


Golkow Litigation Services                                                     Page 6 (18 - 21)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 8 of 25
             Confidential - Pursuant to Protective Order
                                            Page 22                                              Page 24
 1 should be acknowledged. First, despite the          1
                                                       misclassification could have concealed a
 2 specific information provided by the applicators 2 positive association in the Andreotti study?
 3 about use of glyphosate, some misclassification   3    A. So I think you're taking that sentence
 4 of exposure undoubtedly occurred."                4 a bit out of context, because I'm talking in
 5        Do you agree with that statement?          5 this whole paragraph about a specific situation
 6    A. Like I said, I think we would be very       6 where you're looking at exposure in multiple
 7 hard-pressed to find an epidemiologic study       7 categories, and you have exposure
 8 where there was absolutely no misclassification   8 misclassification specifically between two of
 9 of exposure, especially when we're dealing with   9 those categories, those would bias the results
10 lifestyle or occupational behaviors. So in that  10 towards each other. So in that particular
11 way, yes, I would agree.                         11 situation you could have the results for one
12    Q. And does misclassification always bias     12 category go towards the null and another
13 the results of a study in a particular           13 category go away from the null.
14 direction; for example, towards the null or away 14        But here in the HS 2018 study that
15 from the null?                                   15 we're talking about, all of the results for
16        MR. LASKER: Objection to form. Asked 16 every category are below 1, you know, except for
17 and answered.                                    17 the reference value, of course, which is 1, so
18    A. Yes, so I did -- this is what I stated     18 there's no way for two categories to be biased
19 previously. But in general, non-differential     19 towards each other and for one to be then away
20 misclassification of exposure would bias the     20 from the null.
21 results towards the null, especially if you are  21    Q. Okay. So if I understand, and I'm not
22 just talking about a dichotomous exposure. But   22 sure that I do, you're saying that it is
23 we have random error issues as well, and so the  23 impossible for the results of -- strike that.
24 point estimate you obtain from a single study    24        So because all the results are going
25 wouldn't always be necessarily closer to the     25 away from the null, you're saying that it is

                                            Page 23                                              Page 25
 1 null.                                               1 impossible that exposure misclassification could
 2 BY MR. WOOL:                                        2 lead to that result?
 3    Q. Now, if we go to -- back to your              3         MR. LASKER: Objection to form.
 4 report --                                           4 BY MR. WOOL:
 5    A. Okay.                                         5    Q. Did I get that?
 6    Q. -- to Page 4, I want to ask you about         6    A. No, that's not what I said.
 7 the last sentence of this top paragraph.            7    Q. Okay. Sorry. I just want to make
 8        MR. LASKER: I'm sorry. I was on              8 sure that I'm clear. This isn't a trick
 9 Page 4, but the wrong document. So Page 4, yes.     9 question or anything like that.
10 BY MR. WOOL:                                       10    A. It might be helpful to actually look
11    Q. Okay?                                        11 at the results in Table 2.
12    A. Yes.                                         12    Q. Table 2 of Andreotti?
13    Q. The last sentence you state that while       13    A. Correct.
14 -- sorry, strike that. You state, "While this      14         So if we're looking at the results for
15 theoretically could lead to a shift in the         15 NHL, you can see there's -- the reference group
16 relative risk for any individual category in       16 that's the no exposure category, and then all of
17 either direction, because the reported relative    17 the quartiles of exposure have relative risk
18 risk in all categories in Andreotti, et al         18 estimates that are below 1. Right?
19 results are below 1.0, it is impossible for        19    Q. Correct.
20 non-differential exposure misclassification to     20    A. So it is impossible for this one
21 conceal any positive associations in that data,"   21 specific situation that I'm describing where
22 correct?                                           22 non-differential misclassification can actually
23    A. Mm-hmm.                                      23 in categorical exposure evaluations can drive
24    Q. And so is it your opinion, as you sit        24 the relative risk away from the null
25 here today, that it is impossible that exposure    25 theoretically, but it can't happen here because


Golkow Litigation Services                                                    Page 7 (22 - 25)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 9 of 25
             Confidential - Pursuant to Protective Order
                                            Page 26                                             Page 28
 1 every single category has a relative risk below     1
                                                      that term.
 2 1.                                               2 BY MR. WOOL:
 3        So if you were misclassifying two         3    Q. Okay. So let's just talk about
 4 categories, only two categories, it's possible   4 potential misclassification at enrollment.
 5 that they would be biased towards each other.    5    A. Okay.
 6 But here that towards each other would still     6    Q. Okay. So we have the enrollment form.
 7 result in estimates below 1.                     7 So is it correct that the cohort members were
 8    Q. And so is it your opinion that the         8 asked to detail past pesticide use at
 9 Andreotti study is a negative -- or produces a   9 enrollment?
10 negative result?                                10    A. That is correct.
11        MR. LASKER: Objection to form.           11    Q. And they were asked to recall several
12    A. So that is a term -- I don't know what    12 different pesticides, correct?
13 you mean by "a negative result."                13    A. I believe 50 pesticides.
14 BY MR. WOOL:                                    14    Q. And they were asked to recall the
15    Q. So a result -- or a relative risk of 1    15 frequency of use for each of those pesticides,
16 is a null result, correct?                      16 correct?
17    A. That would be a null result, yes.         17    A. That is correct.
18    Q. And so, I believe you used the term       18    Q. And they were asked to do that by
19 negative result in your original report, so my  19 filling out a questionnaire?
20 apologies if you didn't.                        20    A. The enrollment questionnaire, correct.
21        But would a result less than 1           21    Q. And do you know -- strike that.
22 indicate that the substance at issue in this    22        Were the cohort members able to
23 case, glyphosate, has a protective effect?      23 compare answers to their own records prior to
24    A. So this is exactly why I think it's       24 filling out the questionnaire?
25 very important to always look at the confidence 25    A. What types of records do you mean?
                                            Page 27                                             Page 29
 1 intervals and not just the point estimate, so       1    Q. For example, purchase records.
 2 absolutely not. I would not regard this as a        2    A. I'm not sure actually if they were
 3 protective association. I would call this           3 able to do that.
 4 consistent with no association.                     4    Q. Do you know if they were permitted to
 5    Q. And that's because 1 is within the            5 ask family members about their own use to, say,
 6 confidence intervals?                               6 corroborate their memory?
 7    A. That is correct.                              7    A. I'm not sure.
 8    Q. All right. Did you do any research on         8    Q. Okay. And in the Andreotti study, the
 9 the potential effects of exposure                   9 relative risks were calculated by comparing the
10 misclassification prior to writing your report?    10 exposed group to the unexposed group, correct?
11        MR. LASKER: Objection to form.              11        MR. LASKER: Objection to form.
12    A. I guess I don't quite understand what        12    A. Yes, or in their primary analyses
13 you mean. I mean, I think I evaluate all of my     13 every quartile of use was compared to no
14 own studies that I do in terms of exposure         14 exposure.
15 misclassification, and I teach exposure            15 BY MR. WOOL:
16 misclassification, but I don't think any of my     16    Q. And in the De Roos 2005 paper, which I
17 substantive research is on the issue of exposure   17 believe you relied on for your original report,
18 misclassification specifically.                    18 correct?
19 BY MR. WOOL:                                       19    A. Correct.
20    Q. Forgive me, this isn't on your               20    Q. The authors of that study looked at
21 reliance list. Actually we can go back to that.    21 the comparison between the upper quartiles and
22        Have you heard the term baseline            22 the lowest quartile, correct?
23 misclassification before?                          23        MR. LASKER: Objection to form.
24        MR. LASKER: Object to the form.             24    A. So in their dose-response analyses
25    A. No, I wouldn't know what you meant by        25 that's correct, it was done slightly


Golkow Litigation Services                                                    Page 8 (26 - 29)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 10 of 25
             Confidential - Pursuant to Protective Order
                                           Page 30                                               Page 32
 1 differently, and the reference group was the        1     A. Okay.
 2 lowest exposed group, but they also provided        2     Q. I'm sorry. Strike that. We'll go
 3 ever-never analyses where they compared it to no    3 back to that.
 4 exposure. So it was just presented slightly         4          Now, in the questionnaires, is it
 5 differently, but the same information was           5 possible that some exposure misclassification
 6 available.                                          6 occurred at enrollment?
 7 BY MR. WOOL:                                        7     A. So you're asking is it possible that
 8    Q. And do you believe that one of those          8 not every applicator correctly reported every
 9 methods is more reliable than the other?            9 single occurrence of every pesticide?
10    A. So I mean, I think when we're                10     Q. Correct.
11 interested in determining causal associations,     11     A. Yes, that is a possibility.
12 what we're really interested in is the             12     Q. Okay. And what's the potential effect
13 comparison of exposure and different levels of     13 on Andreotti of misclassification at enrollment?
14 exposure to no exposure. So I think if you're      14     A. Well, again, I mean, I think there is
15 looking to make sort of causal inferences from     15 good data from several external studies that
16 your study, I think in a lot of ways that makes    16 say, you know, they're in the Blair 2002 study,
17 sense.                                             17 that agreement between pesticide reporting from
18    Q. Is it possible to accurately quantify        18 one year to the next is actually very good. So
19 exposure misclassification in the Andreotti        19 if it's quite precise, we would expect that to
20 study?                                             20 have very minimal impact on the findings.
21        MR. LASKER: Objection to form.              21     Q. And so is it your opinion, as you sit
22    A. So I think the authors did go through        22 here today, that pesticide applicators
23 a number of different analyses, and there were     23 accurately report use year-over-year?
24 also external studies that look at the degree to   24          MR. LASKER: Objection to form.
25 which exposure misclassification could be an       25     A. Again, I think that there is always
                                           Page 31                                               Page 33
 1 issue, and I think those studies show that the      1
                                                      some degree of error in reporting of exposure.
 2 determination of exposure is quite good, and     2 But, you know, here what we're really trying to
 3 certainly in line with other types of lifestyle  3 do is put people into categories of exposure
 4 exposures that we typically measure.             4 ranging from low use to high use. And if we can
 5 BY MR. WOOL:                                     5 do a reasonable job in estimating their
 6    Q. But I guess my question was a little       6 exposure, we can at least get them into the
 7 bit different.                                   7 right category, and then our inferences will be
 8        Is it possible to measure -- to get a     8 valid.
 9 precise measurement, I should say, for exposure  9 BY MR. WOOL:
10 misclassification in the Andreotti study?       10    Q. And you just mentioned Blair 2002.
11    A. Right. So we can do sensitivity           11 Let's take a look at that, which I'll mark as
12 analyses to determine the degree to which       12 Exhibit 33-4.
13 different levels of exposure misclassification  13        (Whereupon, Exhibit Number 33-4,
14 could affect our results, but, you know, we can 14        Blair, et al article, Reliability of
15 never definitively say that there is this       15        Reporting on Life-Style and
16 certain degree of exposure misclassification in 16        Agricultural Factors by a Sample of
17 a particular study, because we would never have 17        Participants in the Agricultural
18 that information.                               18        Health Study from Iowa, was marked for
19        But I think the important thing is       19        identification.)
20 that you look to see how much that would impact 20 BY MR. WOOL:
21 your findings, and then if it appears that it   21    Q. And this is the study that you just
22 would have very little impact you can have      22 described?
23 confidence in your conclusions.                 23    A. That's correct.
24    Q. Okay. So let's go to Page 10 of your      24    Q. All right. And how did Blair
25 expert report.                                  25 determine that pesticide applicators gave


Golkow Litigation Services                                                    Page 9 (30 - 33)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 11 of 25
             Confidential - Pursuant to Protective Order
                                           Page 34                                               Page 36
 1 reliable reporting for pesticide use?               1
                                                       group or the third group, just as an example of
 2    A. So I agree -- well, they say here in        2 what that means by within one category, as an
 3 the last sentence of the introduction, "We took   3 example.
 4 advantage of a special situation in Iowa to       4    Q. Right. I think I was misunderstanding
 5 assess the reporting consistency for              5 of your answer.
 6 agricultural and lifestyle factors on a sample    6    A. Okay.
 7 of the cohort that completed two questionnaires   7    Q. And again, the groups -- or strike
 8 approximately one year apart." So I think         8 that.
 9 something happened in Iowa regarding licensing, 9          The categories are less than 5, 5 to
10 and so they were able to obtain data on, I       10 9 --
11 believe it's about 4,000 people twice. 2,895     11        MR. LASKER: You're talking about
12 applicators, and a second group of 1,193.        12 days?
13    Q. Now, if we turn to Page 96 of the          13        MR. WOOL: Sorry, the categories.
14 Blair study, look at Table 2. For the days per   14        MR. LASKER: Can you show us where you
15 year mixed or applied statistic, what is the     15 were.
16 exact agreement for glyphosate?                  16        MR. WOOL: For days per year of use
17    A. So that would be .71 with a confidence     17 categories.
18 interval of .67 to .75.                          18        MR. LASKER: So this is the footnote
19    Q. Okay. And Blair reports 52 percent         19 to Table 2?
20 exact agreement for glyphosate for days per year 20 BY MR. WOOL:
21 mixed or applied, correct?                       21    Q. Yes, the footnote to Table 2. The
22    A. Sorry, where are you getting that?         22 categories of less than 5, 5 to 9, 10 to 19, 20
23    Q. In Table 2, if you go down you'll see      23 to 39, 40 to 59, 60 to 150, and more than 150?
24 days per year mixed or applied on the far        24    A. Correct.
25 left-hand column.                                25    Q. And your testimony is that exact
                                           Page 35                                               Page 37
 1     A. The exact agreement, yes, 52 percent         1 agreement was 98 and 99 percent within those
 2 with a kappa of .71, yes.                           2 categories, so 99 -- or 98 to 99 percent of the
 3     Q. And that 52 percent is telling us that       3 people who, say, reported as being within 10 to
 4 the categories are identical for 52 percent of      4 19 one year were in 20 to 39 the year before, is
 5 the responders, correct?                            5 that right?
 6     A. Well, that's true. But if you go down        6    A. As an example, correct, yes.
 7 to the text below the table, they also say that     7    Q. Okay. And so based on this result,
 8 agreement within one category of exact agreement    8 which is, again, the days per year mixed or
 9 was 98 and 99 percent, much higher than for any     9 applied, do you believe that the mixed or
10 category.                                          10 applied data that's reported in Andreotti, et al
11         So this is actually the advantage of       11 is accurate?
12 looking at the kappa statistic is the kappa        12        MR. LASKER: Objection to form.
13 statistic takes into account sort of chance        13    A. So as I've said before, I think this
14 agreement that can happen, but it can also tell    14 lends support to the fact that the relative
15 you about how close you are to the correct         15 risks that we're estimating are by and large
16 answer, not just whether you're right or wrong.    16 capturing people with regard to whether they're,
17     Q. And so what does that mean when the         17 you know, low exposed or high exposed
18 authors say agreement within one category of       18 individuals and relating that to unexposed
19 exact agreement was 98 and 99 percent?             19 individuals. So while yes, some people may have
20     A. So I believe it means that, you know,       20 been not perfectly classified, you would still
21 if the person would have been classified in the    21 be able to identify elevations in the relative
22 second group -- hold on.                           22 risk across those categories.
23         So if the correct category was the         23    Q. Okay. Now, you talk about selection
24 second group, you know, 98 or 99 percent of        24 bias in your expert report.
25 people would have put themselves in the first      25    A. Okay.

Golkow Litigation Services                                                   Page 10 (34 - 37)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 12 of 25
             Confidential - Pursuant to Protective Order
                                           Page 38                                                Page 40
 1    Q. And this time we're going to stick on         1 exposure and outcome under study"?
 2 your expert report for a second. If you go to       2    A. So they here in this study looked at
 3 Page 4.                                             3 specific exposures and outcomes, and selection
 4    A. Okay.                                         4 bias phenomenon could -- you know, it's not
 5    Q. You had talked about some of the              5 general across a study population, you would
 6 different strategies that have been used by the     6 need to take into account the specific exposure
 7 Andreotti authors to validate the results of the    7 and disease outcome of interest.
 8 study a couple moments ago, and at kind of the      8    Q. And what exposures did they look at in
 9 bottom paragraph in the middle you begin talking    9 Montgomery?
10 about the Montgomery study, correct?               10    A. Let's see. This is one, I believe,
11    A. Yes. I see that, yes.                        11 they looked at smoking.
12    Q. And what is the pertinence of the            12    Q. I think if you look at the bottom of
13 Montgomery study?                                  13 Page 2.
14        MR. LASKER: Objection to form.              14    A. Okay. They looked at chloro -- you're
15    A. Well, the Montgomery study is one of         15 going to make me say that.
16 the studies that looked at how likely or           16    Q. No, I won't make you say it.
17 unlikely selection bias was to occur in the        17    A. With prevalent depression, smoking
18 Agricultural Health Study.                         18 with prevalent chronic lung disease, and smoking
19 BY MR. WOOL:                                       19 with incident cancer.
20    Q. And how did the authors of Montgomery        20    Q. So they did not look at glyphosate and
21 do that?                                           21 non-Hodgkin's lymphoma, correct?
22    A. So they look at the differences in the       22    A. That is correct, they did not. Yes,
23 population in terms of responders and              23 they did not look at glyphosate and NHL
24 non-responders to the follow-up questionnaire,     24 specifically.
25 and they find that even though there are some      25    Q. And would you view -- strike that.
                                           Page 39                                                Page 41
 1 differences among non-responders in many            1        And is it possible that there are --
 2 variables that they measured, they do analyses      2 actually, strike that.
 3 to show that this really doesn't have a             3        And in your expert report you note
 4 meaningful impact on the results.                   4 regarding Montgomery that these results provide
 5    Q. Okay. And I've actually marked as             5 evidence that selection bias due to follow-up,
 6 33-5 the Montgomery study.                          6 survey non-responses not necessarily a major
 7        (Whereupon, Exhibit Number 33-5,             7 concern, though this issue should also be
 8        Montgomery, et al Author Manuscript,         8 considered with respect to GBH, which is
 9        Characteristics of non-participation         9 glyphosate-based herbicides, and NHL
10        and potential for selection bias in a       10 specifically?
11        prospective cohort study, was marked        11    A. Yes. And I think the authors did that
12        for identification.)                        12 in their sensitivity analyses.
13    A. Okay.                                        13        MR. LASKER: Just clarify, authors of
14 BY MR. WOOL:                                       14 what?
15    Q. And if you look at the conclusions in        15 BY MR. WOOL:
16 the abstract section on the first page, the        16    Q. Go ahead. Yes, fair enough.
17 authors note that "Differences between             17    A. Sorry. The Andreotti, et al authors
18 non-participants and participants in follow-up     18 in the most recent 2018 publication did several
19 interview were generally small, and we did not     19 sensitivity analyses that addressed concerns
20 find significant evidence of selection bias.       20 about selection bias from non-response.
21 However, the incidence of bias may depend on the   21    Q. Okay. But to the extent that you rely
22 specific exposure and outcome under study."        22 upon Montgomery, this article assumes that
23        Did I read that correctly?                  23 glyphosate response patterns are the same as the
24    A. Yes, you did.                                24 other pesticides measured in this one, which is
25    Q. What do they mean by "the specific           25 chlorpyrifos with a prevalent depression, for


Golkow Litigation Services                                                   Page 11 (38 - 41)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 13 of 25
             Confidential - Pursuant to Protective Order
                                           Page 42                                               Page 44
 1 example?                                            1    Q. And the Andreotti study that's the
 2        MR. LASKER: Objection to form.               2 subject of your supplemental report adjusts for
 3    A. No, I wouldn't characterize it that           3 the presence of confounders, correct?
 4 way, because, again, the primary analysis that      4    A. That is correct.
 5 was done in the JNCI Andreotti study used           5    Q. And some of the confounders that the
 6 multiple imputation, and so the patterns don't      6 study adjusted for are other pesticides,
 7 need to be exactly the same, you just need to       7 correct?
 8 have measured all of the variables which            8    A. Yes, they included other pesticides.
 9 influence response. So they collected all of        9    Q. And, in fact, one of your opinions in
10 this other information on, you know, many, many    10 this litigation is that plaintiffs' experts
11 covariates in this questionnaire, and then could   11 failed to properly adjust for confounders,
12 use those to predict glyphosate use. So it         12 correct?
13 doesn't necessitate that the patterns need to be   13    A. Could you provide a little more --
14 the same.                                          14 that the plaintiffs experts failed to adjust?
15 BY MR. WOOL:                                       15    Q. Yes. I believe it is. Let's see, for
16    Q. Do you agree, though, that the extent        16 example, on Page 10 of your supplemental report
17 of bias could be dependent upon the particular     17 at the very bottom, there's a heading
18 outcome, for example non-Hodgkin's lymphoma?       18 "Overadjustment for Other Pesticides."
19        MR. LASKER: Objection to form.              19    A. So that specifically was about an
20    A. So I think I would be much less              20 issue that Dr. Ritz raised in her deposition
21 concerned about in this study, because we have     21 where she was saying that when you adjusted for
22 complete information on all of the outcomes        22 other pesticides, you could over-adjust and
23 through cancer registry, so this isn't a           23 would somehow wash out the effect of GBH and
24 situation where loss to follow-up causes us to     24 NHL. But I disagree with that. I think that,
25 miss some of the cancer cases. So no, I            25 you know, the most important issue is to -- for

                                           Page 43                                               Page 45
 1 wouldn't be concerned about that.                   1 your results to be internally valid is to make
 2 BY MR. WOOL:                                        2 sure that you don't have a common cause of
 3    Q. So let's talk about that for just a           3 exposure and outcome. It's probably the most
 4 moment.                                             4 basic epidemiologic principle.
 5        How were the outcomes captured in the        5        It's interesting that in this
 6 Andreotti study?                                    6 particular study, the Andreotti JNCI study, the
 7    A. They used linkage to cancer                   7 adjustment for those potential confounders
 8 registries. So they're not relying solely on        8 didn't have any appreciable affect on the
 9 self-reported outcome data.                         9 results. But that doesn't mean that those
10    Q. Which cancer registries?                     10 things they adjusted for couldn't be confounders
11    A. I believe the state cancer registries,       11 in another study where the population was less
12 but they also do a search of the death index.      12 homogenous.
13    Q. Okay. So if somebody moved out of the        13    Q. So would it be fair to say that it
14 state of North Carolina and then developed         14 would be improper to fail to adjust for a known
15 non-Hodgkin's lymphoma, would that be captured     15 confounder in an epidemiological study?
16 by the Andreotti study?                            16    A. I think if you know something that is
17    A. If someone left the state prior to           17 a common cause of the exposure and the outcome,
18 their cancer diagnosis, it is possible that you    18 you would adjust for it, if what you're
19 would miss that case, unless that person died of   19 interested in is interpreting your results
20 NHL, and then you would most likely capture them   20 causally.
21 through the death registry.                        21    Q. And if something is a potential
22        This is the same method we use in the       22 confounder, is adjustment required for an
23 cohorts that I work on. And like this study,       23 epidemiological study to be reliable?
24 you know, you can say that cancer outcomes are     24    A. I think in general if we don't know
25 captured at least 98 percent of the time.          25 whether a variable is a confounder, and by that


Golkow Litigation Services                                                   Page 12 (42 - 45)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 14 of 25
             Confidential - Pursuant to Protective Order
                                             Page 46                                                 Page 48
 1 I specifically mean a variable that is a common      1 confounder.
 2 cause of the exposure and the outcome, you first     2 BY MR. WOOL:
 3 use your sort of biological knowledge about that     3     Q. So I'm asking a slightly different
 4 variable and its relationship with exposure and      4 question. What I'm curious about is something
 5 disease to determine whether or not you should       5 that you can definitively say is not a
 6 adjust for it.                                       6 confounder. Let's say that there are 1,000
 7    Q. So if I understand your answer                 7 great cohort prospective studies that show that
 8 correctly, sometimes yes, sometimes no, it's         8 smoking just doesn't have any effect one way or
 9 just something that requires kind of more            9 the other on non-Hodgkin's lymphoma, if that
10 granular focus depending on the substance, is       10 were the case would it be proper to adjust for
11 that fair?                                          11 cigarette smoking as an example?
12    A. Well, I think this is why                     12     A. I think it's, you know, rare that we
13 epidemiologists need to know, you know,             13 ever feel confident enough that smoking wouldn't
14 something about the relationship between the        14 cause an outcome that you wouldn't at least try
15 exposure and the outcome to determine what those    15 to look at it as a potential confounder.
16 potential confounders might be.                     16     Q. Okay. Smoking was probably a bad
17        The wrong approach is just simply, you       17 example. Let's say Smart Water, for example.
18 know, throwing everything in a model. You have      18 If there were a bunch of studies that just said
19 to think that that could actually be a common       19 that Smart Water has no effect one way or the
20 cause potentially of the exposure and the           20 other on non-Hodgkin's lymphoma, would it be
21 outcome.                                            21 proper to adjust for the use of Smart Water in
22    Q. So you must think that a substance is         22 an epidemiological study?
23 a common cause of both the exposure and the         23     A. I think, again, you would only include
24 outcome to rule it in as a confounder?              24 it if you thought that it could be a common
25        MR. LASKER: Objection to form.               25 cause of exposure and your outcome. If you

                                             Page 47                                                  Page 49
 1     A. As a potential confounder, correct.           1
                                                       didn't  have a reason to believe that that was
 2         So just to clarify, we wouldn't want      2 true, then no, it would be fine not to include
 3 to put in our model anything that we thought was 3 it.
 4 an intermediate between our exposure and our      4    Q. And if you could definitively rule it
 5 outcome, because if you adjust on an              5 out, it would be fine not to include it as a
 6 intermediate it may take away some of the real    6 confounder?
 7 causal effect of that exposure on the outcome,    7    A. If you could definitively rule it out,
 8 but your statistical model can't tell you the     8 yes. But I think, again, there are few
 9 difference between the situation where that       9 situations where we feel comfortable doing that.
10 variable is a confounder and the situation where 10 I think erring on the side of being conservative
11 it's an intermediate. You have to use your own   11 and adjusting is usually how we would proceed.
12 biological knowledge of the relationship between 12         MR. WOOL: Do you guys want to take a
13 the exposure and disease to determine that.      13 quick break?
14 BY MR. WOOL:                                     14         MR. LASKER: Sure.
15     Q. What about when a substance is not a      15         THE VIDEOGRAPHER: Going off the
16 confounder, in that it has no association with   16 record. The time is 3:34.
17 the disease, is it proper to adjust for          17         (Whereupon, a recess was taken.)
18 something that is not a confounder?              18         THE VIDEOGRAPHER: Back on the record.
19         MR. LASKER: Objection to form.           19 The  time  is 3:45.
20     A. So there are -- in epidemiology I         20 BY MR. WOOL:
21 would say age is the most frequently considered 21     Q. Dr. Rider, 37 percent of the
22 potential confounder. We often adjust for age    22 Andreotti, et al cohort was lost to follow-up,
23 in our analyses, even if age has no appreciable  23 correct?
24 impact on the relative risk that we see, just    24         MR. LASKER: Objection to form.
25 because it's known to be an important            25    A. That's not how I would characterize

Golkow Litigation Services                                                      Page 13 (46 - 49)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 15 of 25
             Confidential - Pursuant to Protective Order
                                           Page 50                                               Page 52
 1 it, because, again, they did have information on    1 correct?
 2 outcomes, so they weren't completely lost to        2    A. Correct.
 3 follow-up. But it is true that 37 percent           3    Q. And so am I correct that the
 4 didn't respond to the follow-up questionnaire.      4 imputation performed by the Andreotti, et al
 5 BY MR. WOOL:                                        5 authors derived these four metrics that are
 6     Q. Right.                                       6 listed here?
 7        You mentioned imputation. And to deal        7        MR. LASKER: Objection to form.
 8 with that percentage of people who did not          8        What do you mean by "the Andreotti
 9 answer the follow-up questionnaire, the authors     9 authors"?
10 performed an imputation, correct?                  10        MR. WOOL: Strike that. I agree that
11     A. Yes, multiple imputation.                   11 was a confusing question.
12        MR. WOOL: I'm going to mark as              12 BY MR. WOOL:
13 Exhibit 33-6 the Heltshe article.                  13    Q. So the imputation was used to discern
14        (Whereupon, Exhibit Number 33-6,            14 these four metrics that are listed here,
15        Heltshe, et al article, Using multiple      15 correct?
16        imputation to assign pesticide use for      16    A. That is correct. They were looking at
17        non-responders in the follow-up             17 four -- they used models to predict these four
18        questionnaire in the Agricultural           18 different outcomes. They were exposures, but
19        Health Study, was marked for                19 they were the outcomes of the imputation models,
20        identification.)                            20 correct.
21 BY MR. WOOL:                                       21    Q. How was number of days of use for a
22     Q. You've seen this article before?            22 specific pesticide during Phase 2 calculated?
23     A. Yes, I have.                                23    A. The number of days of use of any
24     Q. Does this article describe the              24 pesticide?
25 multiple imputation that the authors performed?    25    Q. Yes. Strike that. I should have
                                           Page 51                                               Page 53
 1    A. Yes, it does. It goes through the             1
                                                       clarified.
 2 imputation method, and then evaluates it for a    2        So for the -- in the original study
 3 number of different pesticides.                   3 for the responders, how did they calculate that
 4    Q. Now, if you turn to Page 410, which is      4 figure, the number of days of use for a specific
 5 the second page of the article, under Materials   5 pesticide?
 6 and Methods the authors state that, "Our          6        MR. LASKER: Objection to form.
 7 specific multiple imputation" --                  7        I'm sorry, which study?
 8        MR. LASKER: Where are you?                 8 BY MR. WOOL:
 9        MR. WOOL: Sorry, under Materials and       9    Q. The Andreotti study.
10 Methods, I believe the third full sentence.      10    A. Could I ask you --
11        MR. LASKER: Okay.                         11    Q. Let me clarify.
12        MR. WOOL: Do you see it?                  12        In the Andreotti study, how did they
13        MR. LASKER: Yes.                          13 calculate the number of days of use for a
14 BY MR. WOOL:                                     14 specific pesticide between the original
15    Q. The authors state, "Our specific           15 questionnaire and follow-up questionnaire?
16 multiple imputation procedure imputes four       16        MR. LASKER: Objection to form.
17 primary AHS exposure metric variables of         17    A. I apologize, I still don't understand
18 interest," and then a colon, "(1) use (yes/no)   18 the question. I don't know whether you're
19 of any pesticide in the interim period between   19 talking about responders or non-responders.
20 Phase 1 and 2; (2) use (yes/no) of 50 specific   20 BY MR. WOOL:
21 pesticides in the interim period," which is      21    Q. Okay. We're talking about responders
22 referenced in Table 1. "(3) number of days of    22 here. So let's go back to the Andreotti study,
23 use for a specific pesticide during Phase 2; and 23 actually, at the top of Page 2.
24 (4) last year of application of any pesticides   24    A. Okay.
25 within the 5-year period between Phase 1 and 2," 25    Q. Are you there?
Golkow Litigation Services                                                   Page 14 (50 - 53)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 16 of 25
             Confidential - Pursuant to Protective Order
                                            Page 54                                              Page 56
 1     A. Yep.                                         1
                                                      BY MR. WOOL:
 2     Q. Okay. So looking at the top               2    Q. Okay. And to clarify, so between
 3 right-hand column --                             3 enrollment and follow-up, that figure was the
 4         MR. LASKER: I'm sorry, right hand on     4 only metric that was gathered for days per year
 5 Page 2?                                          5 of use, that answer for the most previous
 6     A. Of the Andreotti study.                   6 calendar year, correct?
 7         MR. WOOL: Of Andreotti.                  7    A. Right. So the authors state that
 8         MR. LASKER: Sorry.                       8 there's an approximately five year period
 9 BY MR. WOOL:                                     9 between enrollment and the follow-up
10     Q. This will make it easier.                10 questionnaire, and at the time of the follow-up
11         MR. LASKER: What column are we under? 11 questionnaire the questionnaire included
12         MR. WOOL: The right.                    12 questions just on the most recent year farmed,
13 BY MR. WOOL:                                    13 not on every year, that is correct.
14     Q. And it states that, "At enrollment       14    Q. Okay. Now you can go back to Heltshe.
15 applicators reported a number of years and days 15    A. Okay.
16 per year each pesticide was used, while at      16    Q. Sorry, that was more complicated than
17 follow-up applicators reported the number of    17 it should have been. And again, we're on
18 days each pesticide was used in the most recent 18 Page 410.
19 year farmed." Correct?                          19    A. Okay.
20     A. That's correct.                          20    Q. So if we go back to where we were,
21     Q. So am I correct that the authors used    21 number 3, the number of days of use for a
22 the most recent year farmed as one of the       22 specific pesticide during Phase 2 refers to --
23 metrics to determine the -- what did they call  23 actually, strike that.
24 it -- the intensity weighted lifetime days of   24        Okay. So Heltshe, kind of at a
25 use?                                            25 10,000-foot level, used the information of

                                            Page 55                                              Page 57
 1         MR. LASKER: Objection to form.              1 responders to impute what non-responders would
 2    A. So in the Andreotti, et al article,           2 have answered had they responded to the
 3 their primary analysis used information from the    3 questionnaires, correct?
 4 baseline questionnaire where they had asked         4        MR. LASKER: Objection to form.
 5 about the number of years and days per year of      5    A. The goal of the imputation procedure
 6 use for each pesticide, as well as information      6 is to be able to use data from the whole cohort
 7 from the follow-up questionnaire where they         7 even if participants had not responded to the
 8 asked just about pesticide use in the most          8 follow-up questionnaire, so they're using this
 9 recent year farmed.                                 9 method to predict what a person's exposure would
10 BY MR. WOOL:                                       10 have been at that particular time period.
11    Q. Okay. And the number of days of use          11 BY MR. WOOL:
12 for a specific pesticide during Phase 1 and 2      12    Q. And so if responders' use data was
13 for responders was calculated using the number     13 inaccurate, then that would decrease the
14 reported for the most recent year farmed,          14 reliability of the imputed results, correct?
15 correct?                                           15        MR. LASKER: Objection to form.
16         MR. LASKER: Objection to form.             16    A. So the information that's used in the
17    A. So the, like I said, the authors used        17 imputation it takes into account, of course, the
18 all of the information that they gathered on       18 responders' data, but all of -- but also all of
19 exposure in terms of number of years of use and    19 the other variables and information that they
20 days of use for each pesticide from enrollment,    20 have for the entire cohort. So they're using
21 and then they distributed a follow-up              21 every variable that could predict exposure to
22 questionnaire roughly five years later, and that   22 predict particular exposure values.
23 questionnaire included questions about the         23 BY MR. WOOL:
24 number of days of use for each pesticide within    24    Q. Is it possible for statistical
25 the most recent year farmed.                       25 analysis to correct for exposure


Golkow Litigation Services                                                   Page 15 (54 - 57)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 17 of 25
             Confidential - Pursuant to Protective Order
                                           Page 58                                               Page 60
 1 misclassification?                                  1 other approaches like, say, the complete case
 2        MR. LASKER: Objection to form.               2 analysis.
 3    A. There are a number of methods actually        3    Q. And in Andreotti the imputation was
 4 that do corrections for exposure                    4 performed using answers from the entire cohort
 5 misclassification, yes.                             5 that answered Phase 2 questionnaires corrected,
 6 BY MR. WOOL:                                        6 and it -- strike that. Let me just ask that
 7    Q. Now, if the imputation model was              7 first.
 8 systematically biased to imputing no exposure,      8        MR. LASKER: Objection to form.
 9 would that diminish the power of the Andreotti      9    A. So could you just ask the question?
10 study?                                             10 BY MR. WOOL:
11        MR. LASKER: Objection to form.              11    Q. Yes.
12    A. Would you mind just restating the            12        So I guess what I'm getting at is that
13 question one more time?                            13 the imputation that was performed did not look
14 BY MR. WOOL:                                       14 at whether the non-responders were from North
15    Q. Yes.                                         15 Carolina or from Iowa, correct?
16        If the imputation model was                 16        MR. LASKER: Objection to form.
17 systematically biased to imputing no exposure,     17    A. I completely disagree. The imputation
18 would that reduce the power of the Andreotti       18 procedure takes into account all types of
19 study?                                             19 information that's available on all of the
20        MR. LASKER: Same objection.                 20 applicators, so that's how they build their
21    A. So I think, first of all, I just want        21 imputation model. And that's even described in
22 to point that that their primary analysis wasn't   22 Heltshe.
23 ever exposure versus no exposure, it was levels    23 BY MR. WOOL:
24 of exposure compared to no exposure. So I guess    24    Q. Okay. So help me out here, I guess.
25 I'm not sure how there would be a systematic       25 So the authors did take into account whether the

                                           Page 59                                               Page 61
 1 bias towards imputing no exposure.                  1 responder was in -- strike that.
 2 BY MR. WOOL:                                        2        The authors did take into account
 3    Q. Now, have you used imputation in any          3 whether the non-responder was in North Carolina
 4 of your epidemiological publications?               4 or Iowa?
 5    A. I do not -- well, I can't say                 5    A. I mean, I would need to look at the
 6 definitively that any of my papers does not         6 Heltshe paper to recall exactly what variables
 7 include imputation, but at the same time I can't    7 they ended up including in their imputation, but
 8 come up with an example right now that does.        8 they used a strategy where all of the variables
 9    Q. So let's see. You might have used             9 that most strongly predicted response were
10 multiple imputation, you might not have, you       10 included. So again, I would have to review to
11 just don't know sitting here?                      11 see whether state was one of those. But if it
12    A. Yes, there's a possibility on a paper        12 wasn't included, it was because it didn't affect
13 for which I'm a co-author that multiple            13 response -- I mean, it didn't affect the
14 imputation was used when there was missing data.   14 exposure value. Sorry.
15    Q. Okay. So is it your opinion that the         15    Q. Okay. Now, if you turn to Page 413 of
16 imputation method utilized in the Andreotti        16 Heltshe, and to Table 3.
17 study has general acceptance within the            17    A. Okay.
18 epidemiological community?                         18    Q. And Table 3 provides metrics for
19    A. Well, I think that it's well-suited          19 reference Brier scores, Brier score, and skill
20 for certain situations when the data are missing   20 Brier score, correct? Table 3 on 414.
21 at random. So I think when you're deciding         21    A. Here we are. Thanks. Yes.
22 which method for strategy for handling missing     22    Q. Okay. Did you hear my question?
23 data you're going to use, you consider why the     23    A. That this table contains scores for
24 data are missing. And when they're missing at      24 reference Brier, Brier score, Brier skill score.
25 random, multiple imputation is preferable to       25    Q. Now, what is a Brier score?

Golkow Litigation Services                                                   Page 16 (58 - 61)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 18 of 25
            Confidential - Pursuant to Protective Order
                                           Page 62                                              Page 64
 1    A. A Brier score is just a statistic that       1    A. I wouldn't be aware of that, but it
 2 is used to measure the accuracy of a prediction    2 would surprise me because, like I said, we tend
 3 that's in discrete categories.                     3 to not utilize cutpoints like that because it's
 4    Q. Have you ever used a Brier score in          4 very situation-specific.
 5 your own research?                                 5 BY MR. WOOL:
 6    A. No. I, in fact, I think they're              6    Q. So it would depend on the situation,
 7 fairly uncommonly used in epidemiology overall.    7 correct?
 8 Sorry. I mean, I think they're often used in       8    A. Yes, that's what -- I'm saying for
 9 weather forecasting.                               9 different measures that I am familiar with, like
10         MR. LASKER: Just for clarification,       10 sensitivity and specificity, you judge those
11 did you say that Brier score is used to measure   11 measures in context.
12 the accuracy of a prediction that's in those      12    Q. So how would you go about evaluating
13 three categories?                                 13 an opinion that a Brier score was, I guess, you
14    A. No, in discrete categories.                 14 know, too low to be deemed reliable? I guess,
15         MR. WOOL: Good catch.                     15 if I wanted to -- you know, if I was looking at
16 BY MR. WOOL:                                      16 a paper and I saw a Brier score, I guess what
17    Q. And so based on that answer, it would       17 I'm trying to get at is how I would go about
18 be fair to say that you have not calculated a     18 evaluating, oh, this Brier score is way out
19 Brier score before?                               19 there or, you know, or is within a range that
20    A. I have never personally calculated a        20 would be considered acceptable?
21 Brier score, correct.                             21        MR. LASKER: Objection to form.
22    Q. But you had heard the term Brier score      22    A. So like I said, I'm not -- I don't use
23 before reading the Heltshe paper, correct?        23 Brier scores, I hadn't been familiar with them,
24    A. I actually had not encountered Brier        24 so I think there are a number of other results
25 scores before.                                    25 provided in this paper that are actually much

                                           Page 63                                              Page 65
 1    Q. So this paper was the first time that        1 more useful to me than the Brier score, which
 2 you had encountered them as an epidemiologist?     2 you can see corresponds very tightly with the
 3    A. That is correct. Like I said, I think        3 prevalence of the particular pesticide, which
 4 that I've never seen one in all of the papers      4 could be problematic.
 5 that I've reviewed, so I had to do some reading    5        So, you know, if you go to the next
 6 on them.                                           6 page, for instance, they talk about the relative
 7    Q. What is the cutoff point at which you        7 errors, and that to me has more meaning than the
 8 believe a Brier score indicates accuracy that      8 Brier score.
 9 would make the imputation methodology reliable?    9 BY MR. WOOL:
10        MR. LASKER: Objection to form.             10    Q. Okay. But generally am I correct that
11    A. There is no such cutpoint that exists.      11 the smaller the Brier score, the more accurate
12 And, in fact, even for statistics that we use     12 the prediction?
13 very commonly in epidemiology, like sensitivity   13        MR. LASKER: Objection to form.
14 and specificity, there's no cutpoint at which     14    A. That is how a Brier score is
15 you would say this is a good value or this is a   15 calculated. 0 would be perfect prediction.
16 bad value, because it very much relates to what   16 BY MR. WOOL:
17 you're trying to predict.                         17    Q. And how does a Brier skill score, how
18 BY MR. WOOL:                                      18 is that different than just a Brier score?
19    Q. So whether a Brier score indicates          19    A. So they're comparing the Brier score
20 that accuracy is unreliable -- strike that.       20 to some naive reference prediction. In this
21        Within the field of epidemiology, is       21 particular case they used the prevalence of
22 there any sort of general consensus as to what    22 pesticide use in the 80 percent of the cohort,
23 an acceptable Brier score is before, say,         23 you know, without the cohort that they held out
24 accuracy is deemed unreliable?                    24 to do the imputation. So they're basically
25        MR. LASKER: Objection to form.             25 subtracting the reference Brier from the Brier


Golkow Litigation Services                                                  Page 17 (62 - 65)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 19 of 25
             Confidential - Pursuant to Protective Order
                                           Page 66                                               Page 68
 1 score to get the Brier skill score. So in the       1 imputation analysis, the outcome of interest is
 2 skill score, you know, those could range between    2 the missing pesticide use itself. Montgomery,
 3 negative 1 and 1, I believe.                        3 et al showed there's little evidence for
 4    Q. Now, if you turn the page to Page 414,        4 selection bias in Phase 2 of the AHS, however
 5 I believe you said that that Figure 2 was more      5 missing at random is an untestable assumption
 6 important to you in determining the accuracy of     6 without additional data, thus it is possible
 7 the imputation. Did I hear that correctly?          7 that non-responders differ from responders in
 8    A. Well, I just -- I mean, this has              8 variables we have not measured."
 9 information that's more meaningful to me            9        Do you agree with that statement?
10 because, again, the relative errors of the         10    A. I mean, this is always the case in
11 imputed prevalence, you know, tell you something   11 epidemiologic studies. The mechanism of
12 about the error, taking into account how common    12 missingness is always untestable, but you're in
13 that particular pesticide is in the cohort.        13 a much better position in a cohort study like
14    Q. Okay. Sorry, did I interrupt you?            14 this where they have measured many, many
15    A. No. Thank you.                               15 variables that could be used to predict exposure
16    Q. What is Figure 2 telling us with             16 levels.
17 respect to glyphosate?                             17    Q. So it would be fair to say that you do
18    A. It's about in the middle of the pack.        18 agree with that statement?
19    Q. And what does that mean?                     19        MR. LASKER: Objection to form. Asked
20    A. That there are pesticides with much          20 and answered.
21 higher relative error than glyphosate. And it's    21    A. So do I agree -- do I agree with the
22 also interesting that this relative error          22 statement that it's an untestable assumption
23 doesn't relate at all to the Brier scores in       23 without additional data?
24 Table 2. So you can find examples of pesticides    24 BY MR. WOOL:
25 with very high relative errors like                25    Q. Yes.
                                           Page 67                                               Page 69
 1 methylbromide, but that have the lowest of the      1  A. Yes, it is almost always the case that
 2 Brier scores.                                     2 in an actual epidemiologic study, not some sort
 3    Q. And what does a negative relative           3 of simulation, that that is an untestable
 4 error indicate to you?                            4 assumption.
 5    A. Well, it's just that it's                   5    Q. What is selection bias?
 6 underreporting the prevalence.                    6    A. I believe I've already answered this
 7    Q. Right.                                      7 question earlier, but --
 8        Now, still on Page 414, if you look at     8    Q. I'm sorry. Go ahead.
 9 the right-hand column, the first full paragraph,  9    A. I can answer it again.
10 the authors state, "A key assumption of any      10    Q. If you don't mind.
11 imputation is that missingness is independent of 11    A. So if you're thinking about it
12 the unobserved outcome of interest or            12 structurally, it's when you're conditioning on a
13 unobservable confounders."                       13 factor that is an effect of both the exposure
14        Do you agree with that statement?         14 and the outcome.
15    A. Yes, I do.                                 15    Q. Do you believe that maintaining a high
16    Q. They go on to say, "The reduction of       16 rate of follow-up in a cohort study is integral
17 bias and increase in precision from multiple     17 to ensuring validity?
18 imputations is dependent on the covariates       18         MR. LASKER: Objection to form.
19 associated with both non-response and the        19    A. That is a very general question. I
20 endpoint variable, and factors associated with   20 think that if you're talking about outcome data,
21 non-participation which were included and are in 21 that's one particular issue. So, as I mentioned
22 our imputation model."                           22 before, the AHS is in a good position because
23        Do you agree with that statement?         23 they obtained outcome data on all or virtually
24    A. Yes.                                       24 all of the participants in terms of NHL through
25    Q. And they go on to say, "For our            25 cancer registries, so in that place, and, you


Golkow Litigation Services                                                   Page 18 (66 - 69)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 20 of 25
             Confidential - Pursuant to Protective Order
                                           Page 70                                               Page 72
 1 know, I think that that is an integral aspect of    1 know, the sensitivity analyses that they did
 2 the validity of the study.                          2 show us that regardless of how they handle that
 3 BY MR. WOOL:                                        3 missing data, they're really coming up with the
 4    Q. Is there any agreement within the             4 same conclusions. They get very, very similar
 5 field of epidemiology as to what constitutes a      5 results. And so in that way it seems like the
 6 high rate of follow-up?                             6 missing data isn't having a large impact on the
 7         MR. LASKER: Objection to form.              7 findings, so in that way I think it would be
 8    A. No, because, again, I think it really         8 inappropriate not to consider this study.
 9 depends on the particular situation in the          9 BY MR. WOOL:
10 study, and how long you're following people, and   10     Q. So I'm not talking about whether to
11 is this a chronic disease that you're looking at   11 consider it or not. I'm talking about the
12 or some short-term outcome. So it's very hard      12 amount of weight that you would afford to the
13 to provide a number of what's acceptable.          13 study. Do you understand the distinction?
14 BY MR. WOOL:                                       14     A. So I mean, I know how I would weight
15    Q. Would it be reasonable for an                15 it in terms of all of these studies that
16 epidemiologist to put less weight on a study due   16 currently exist on GBH use and NHL. I think
17 to a 37 percent loss in follow-up?                 17 that even with 37 percent missing data on a
18         MR. LASKER: Objection to form.             18 follow-up questionnaire, you know, incomplete
19         Are you talking about in general, or       19 data, in essence, on the enrollment
20 in the Andreotti study?                            20 questionnaire, and follow-up for decades, and
21         MR. WOOL: In general.                      21 much more information on co-variates that can be
22    A. I mean, I think if I was reviewing a         22 adjusted for as confounders, and not having
23 study and there was 37 percent of, again, not      23 concerns about the impact of recall bias or
24 lost to follow-up of the whole cohort, but we're   24 selection bias from improper selection of
25 talking about missing follow-up data, I would      25 controls, I think all of those things lead me to

                                           Page 71                                               Page 73
 1 want to know that they thought carefully about      1
                                                       weight this study, to rank it highest among all
 2 how they were going to handle that missing data   2 of the data that's currently available.
 3 in their analysis, and that that was -- and that  3    Q. Have you ever published a study where
 4 the assumptions that they were making about why 4 37 percent of the population was lost to
 5 that data were missing seemed appropriate.        5 follow-up?
 6 BY MR. WOOL:                                      6    A. So again, you know, you keep saying
 7    Q. With respect to the Andreotti study,        7 lost to follow-up, and that's not really how I
 8 would it be reasonable for an epidemiologist to   8 would characterize it here, because they're just
 9 put less weight on that study due to the lost to  9 missing data on exposure on one questionnaire.
10 follow-up?                                       10 They're not lost because we have their outcome
11        MR. LASKER: Objection to form.            11 data, so that's not how I would describe it.
12    A. So I think I already answered this. I      12        So I think in cohorts that I've worked
13 can't speak for epidemiologists in general, but  13 on where they have done repeated exposure
14 I know that my own approach would be to try to   14 measurements in questionnaires, you know, over,
15 determine if the ways that they handled that     15 say, four year intervals in the health
16 missing data was appropriate given why the data  16 professionals follow-up study it is not at all
17 were missing.                                    17 uncommon for a given exposure to be missing on,
18 BY MR. WOOL:                                     18 you know, a third of the cohort for a given
19    Q. Well, say, for example, with the           19 survey cycle, so I can imagine that it wouldn't
20 Andreotti study, if they got complete responses  20 be that difficult for me to find an example
21 from every participant, would the study be more  21 where that was the case on a study that I'd
22 powerful in your mind?                           22 worked on.
23        MR. LASKER: Objection to form.            23    Q. Fair enough.
24    A. I mean, it's hard to speculate because     24        Have you done any research on changing
25 that's not the case. And I think that, you       25 use patterns of glyphosate following the advent


Golkow Litigation Services                                                   Page 19 (70 - 73)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 21 of 25
            Confidential - Pursuant to Protective Order
                                           Page 74                                              Page 76
 1 of Roundup Ready crops?                            1 two-thirds of the total amount of glyphosate
 2        MR. LASKER: Objection to form.              2 sprayed in the United States occurred between
 3    A. So you asked if I had done any               3 1974 and 2014, is that what that sentence means?
 4 research on it?                                    4    A. Yes, I think so.
 5 BY MR. WOOL:                                       5    Q. All right. And if I'm not mistaken,
 6    Q. Yes. I don't think that -- I could be        6 2005 was the last year of follow-up in the
 7 mistaken, but I don't think that your expert       7 Andreotti study, correct?
 8 reports contains the Benbrook article.             8    A. For -- well, it was the last time that
 9    A. I don't believe I cited the Benbrook         9 they collected data from the follow-up
10 article, but I have read that article.            10 questionnaire on exposure.
11    Q. You have read the article?                  11    Q. So 2004 was the last year that
12    A. Yes.                                        12 follow-up data from the questionnaire was
13    Q. Okay. So fair to ask you some               13 collected in Andreotti?
14 questions about it?                               14    A. You said 2005, and then 2004. So the
15    A. Sure.                                       15 follow-up questionnaire period occurred between
16    Q. Thanks.                                     16 '99 to 2005.
17        MR. WOOL: I'm going to mark the            17    Q. So I think here's where the confusion
18 Benbrook article as Exhibit 33-7.                 18 lies. The question -- or the responses in 2005
19        (Whereupon, Exhibit Number 33-7,           19 dealt with the 2004 calendar year, correct?
20        Benbrook article, Trends in glyphosate     20        MR. LASKER: Objection to form.
21        herbicide use in the United States and     21    A. Yes, I believe that that's correct.
22        globally, was marked for                   22 BY MR. WOOL:
23        identification.)                           23    Q. All right. So if you will turn with
24        MR. LASKER: You gave me two.               24 me to Page 15 of the Benbrook article.
25        MR. WOOL: Christmas came early.            25        MR. LASKER: 15?
                                           Page 75                                              Page 77
 1        MR. LASKER: 33-7?                           1BY MR. WOOL:
 2        MR. WOOL: Yes.                             2    Q. Sorry, 515.
 3 BY MR. WOOL:                                      3    A. Okay.
 4    Q. And you have reviewed this article?         4    Q. And I'll ask you to look at Table 1.
 5    A. I have, yes.                                5    A. Mm-hmm.
 6    Q. All right. Now, if you look at the          6    Q. Okay. So in -- and they give figures
 7 abstract box, the second sentence, the authors    7 in thousand kilograms, and then in thousands of
 8 note that, "Globally, glyphosate use has risen    8 pounds.
 9 almost 15-fold since so-called 'Roundup Ready,' 9      A. Mm-hmm.
10 genetically engineered glyphosate" --            10    Q. Since we're in the United States, I'll
11        MR. LASKER: Where are you reading?        11 ask  you about the pounds.
12        MR. WOOL: The second sentence of          12    A. Okay.
13 Results.                                         13    Q. Now, for glyphosate agricultural use,
14 BY MR. WOOL:                                     14 in 1990 the authors report 7,400 thousand pounds
15    Q. I'll start from the beginning.             15 of glyphosate use?
16        "Globally, glyphosate use has risen       16    A. Correct, 7,400 in 1990 pounds, yes,
17 almost 15-fold since so-called 'Roundup Ready" 17 correct.
18 genetically engineered glyphosate-tolerant crops 18    Q. And then 27,500 in 1995?
19 were introduced in 1996. Two-thirds of the       19    A. Correct.
20 total volume of glyphosate applied in the US     20    Q. And then 78,750 in 2000?
21 from 1974 to 2014 has been sprayed in just the   21    A. Mm-hmm.
22 last 10 years."                                  22    Q. And then 157,500 in 2005?
23        Did I read that correctly?                23    A. Yes.
24    A. Yes.                                       24    Q. And then the figure goes up to 235,814
25    Q. So meaning that approximately              25 in 2010?

Golkow Litigation Services                                                  Page 20 (74 - 77)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 22 of 25
            Confidential - Pursuant to Protective Order
                                           Page 78                                              Page 80
 1    A. Mm-hmm.                                     1follow-up questionnaire.
 2    Q. Correct?                                   2         And that situation you described, yes,
 3        And then it looks like it sort of         3 certainly in some cases that could have
 4 levels off a little bit, it goes up to 236,318   4 happened, but that would have a relatively small
 5 in 2012, correct?                                5 effect on, you know, the total impact of
 6    A. Correct.                                   6 exposure measurement in the entire cohort.
 7    Q. And then it goes to 249,906 in 2014?       7         So yes, for some people it will not be
 8    A. That is what it says, yes.                 8 imperfect -- it will be imperfectly captured,
 9    Q. And the Andreotti study -- strike          9 but it's unlikely to have a meaningful impact on
10 that.                                           10 the results given how much information they did
11        So would it be fair to say that use of   11 collect.
12 glyphosate changed pretty dramatically over the 12 BY MR. WOOL:
13 years that the Andreotti study was collecting   13    Q. Well, using the results of Andreotti,
14 follow-up data?                                 14 is it possible to measure the frequency that
15        MR. LASKER: Objection to form.           15 that particular scenario would have played out?
16    A. So here in this table they report         16    A. I don't think it's possible directly
17 glyphosate use in pounds, and you can see that  17 in the Andreotti paper, but I think there are a
18 there is an increase between 2000 and 2005,     18 number of pieces of information in this Benbrook
19 which would be the follow-up questionnaire      19 article that are actually really helpful in
20 period.                                         20 terms of the increase in use between that period
21        But what's interesting about this        21 that you're talking about. It's actually -- it
22 article is that it shows how that's really      22 doesn't really increase that much in that
23 related to the availability of Roundup Ready    23 period.
24 crops, and in many ways you can predict that    24    Q. So what pieces of information, I
25 increased use if you know what farmers are      25 guess, would you point me to to establish that?

                                           Page 79                                              Page 81
 1 farming.                                          1    A. So, for instance, if you look at
 2 BY MR. WOOL:                                      2 figure 1.
 3    Q. So do you recall if the follow-up           3    Q. In what?
 4 questionnaire for Andreotti asked participants    4    A. In the Benbrook paper. So this is
 5 about the specific crops they were farming?       5 specifically for soybeans. We know that in
 6    A. Well, that is available in the              6 Iowa 80, percent of the farmers are soybean
 7 publication, another HS publication, so they did  7 farmers. So if you look in that period, what
 8 ask for that information. It was in, I think,     8 we're using between, you know, '90 --
 9 Alavanja 2006 they describe what types of crops   9    Q. During the follow-up period is what I
10 the farmers farm.                                10 was asking about.
11    Q. So if a cohort member had reported no      11    A. Yes, so during '99 and 2005, you know,
12 use of glyphosate at enrollment, but then began  12 you can see how much use increased during that
13 using Roundup Ready crops, say, in 2004, if they 13 period. So a lot of the increases would have
14 responded in 1999 to the questionnaire, the      14 been -- would have been captured in that interim
15 questionnaire would not capture their glyphosate 15 period.
16 use, correct?                                    16    Q. Do you know if any of the other
17        MR. LASKER: Objection to form.            17 pesticides and herbicides that were surveyed in
18    A. So just one clarification. In the          18 the Andreotti study, if any of those had
19 Andreotti JNCI paper they talked about how the 19 increases in use that compared to glyphosate?
20 follow-up questionnaire is approximately five    20    A. Could you ask the question one more
21 years after enrollment for the participant, so   21 time?
22 we don't really have a reason to believe that    22    Q. Yes. I don't think I phrased it very
23 someone who answered on the earlier end of the 23 well.
24 enrollment questionnaire would then, you know, 24          Did any other pesticide or herbicide
25 answer more than five years later on the         25 surveyed in Andreotti, et al increase -- or did


Golkow Litigation Services                                                 Page 21 (78 - 81)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 23 of 25
             Confidential - Pursuant to Protective Order
                                              Page 82                                                  Page 84
 1 the use of that pesticide or herbicide increase       1Q.   Did  you  have  a chance to review  any of
 2 to the extent that glyphosate did during the      2 the plaintiffs' deposition transcripts before
 3 follow-up period?                                 3 today?
 4         MR. LASKER: Objection to form.            4    A. For the most recent depositions?
 5    A. Again, I'm not an expert on the use of      5    Q. Yes, for depositions conducted
 6 -- glyphosate use patterns, but from reading of   6 pursuant to Pretrial Order 34.
 7 this -- of the Benbrook article, and also there   7    A. Yes, I have.
 8 was another paper I'm not recalling now on        8    Q. Okay. And which experts?
 9 trends, I think we know that because of Roundup   9    A. I have reviewed Dr. Neugut's
10 Ready crops, glyphosate has increased more       10 deposition, Dr. Ritz, and Dr. Portier's
11 dramatically.                                    11 deposition.
12         But in some ways when you're trying to   12        MR. WOOL: Okay. Let me take a quick
13 predict people's patterns of exposure, the       13 break. I'll chat with Jeff, and maybe we can
14 availability of Roundup Ready crops is really    14 wrap this up.
15 helpful, because then those patterns of exposure 15        THE VIDEOGRAPHER: Going off the
16 become determined by farming those particular    16 record. The time is 4:27.
17 crops, and there's are much more specific        17        (Whereupon, a recess was taken.)
18 regimen for application. So that information     18        THE VIDEOGRAPHER: Back on the record.
19 can actually be helpful.                         19 The time is 4:34.
20 BY MR. WOOL:                                     20 BY MR. WOOL:
21    Q. So I guess due to the increase in use      21    Q. Now, we spoke about this briefly, but
22 of glyphosate, would it be fair to expect fewer  22 one of the reasons for which you believe that
23 never responses in, say, 2000 as opposed to      23 misclassification could not account for the --
24 earlier in the follow-up period?                 24 or exposure, non-differential exposure
25         MR. LASKER: Objection to form.           25 misclassification could not account for the

                                              Page 83                                                 Page 85
 1 BY MR. WOOL:                                          1
                                                       results in Andreotti is because the relative
 2    Q. Do you think that, say, people who at       2 risks in all categories of the Andreotti study
 3 enrollment had never used glyphosate, that as we 3 are below 1.0, correct?
 4 continue from 1997 to 2005 that the frequency of 4         MR. LASKER: Objection to form.
 5 never use responses is likely to decrease?        5    A. So I explained earlier that, you know,
 6        MR. LASKER: Objection to form.             6 we usually say that on average -- that doesn't
 7    A. I mean, we know that glyphosate use         7 mean in every study, single study all the time,
 8 increased, particularly among certain types of    8 but on average non-differential exposure
 9 farmers, right. So you can see in this paper      9 misclassification would bias the results to the
10 that, you know, it's really due to three crops.  10 null. That's true for ever-never -- dichotomous
11 Right? So there were definitely increases in     11 exposures when you just have yes versus no.
12 glyphosate use. Whether that resulted in fewer   12        But when you start looking at exposure
13 never users or just a greater degree of use, I   13 in more than two categories, you can have the
14 don't really know. But again, you can predict    14 situation where if you're just misclassifying
15 those patterns to a large degree by just knowing 15 between two categories, those relative risk
16 what products -- what people are farming.        16 estimates would be biased towards each other, so
17 BY MR. WOOL:                                     17 you could actually get, for one of those
18    Q. All right. Let me just ask a couple        18 categories, bias away from the null.
19 more questions, and then I think we can wrap     19        So what I'm talking about in my report
20 things up. I know that I've asked this at the    20 is how that particular situation can't explain
21 beginning, so my apologies if you've answered.   21 -- can't be happening in the Andreotti, et al
22        MR. LASKER: Objection. Asked and          22 2018 study because all of the relative risk
23 answered. Sorry.                                 23 estimates for all of the categories are below 1.
24        MR. WOOL: I knew it was coming.           24 BY MR. WOOL:
25 BY MR. WOOL:                                     25    Q. And one of the things that the authors

Golkow Litigation Services                                                      Page 22 (82 - 85)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 24 of 25
             Confidential - Pursuant to Protective Order
                                           Page 86                                                          Page 88
 1 did in an attempt to minimize non-differential      1 any other questions.
 2 exposure misclassification was to perform some      2   A. Okay.
 3 sensitivity analyses?                               3       MR. LASKER: No questions.
 4    A. Yes. That's correct.                          4       THE VIDEOGRAPHER: This concludes the
 5        MR. LASKER: Objection to form.               5 January 23, 2018 deposition of Dr. Jennifer
 6 BY MR. WOOL:                                        6 Rider. Going off the record. The time is 4:39.
 7    Q. And if you turn to Page 5 of your             7       (Whereupon, the deposition was
 8 report.                                             8       concluded.)
 9    A. Okay. All right.                            9
10    Q. In the final paragraph on Page 5, you      10
11 describe one of these sensitivity analysis that  11
12 sort of truncated the results of 2005.           12
13    A. That is correct, that's one of the         13
14 analyses they conducted.                         14
15    Q. Okay. And why did they truncate the        15
16 results of 2005?                                 16
17    A. Because the follow-up questionnaire        17
18 period ended at 2005, and so ending follow-up at 18
19 2005 wouldn't make any assumptions about a       19
20 person's exposure after 2005.                    20
21    Q. Okay. And in this particular               21
22 instance, you say that the risk ratio comparing  22
23 the highest quartile of intensity weighted       23
24 exposure to no exposure in analysis, the         24
25 truncated follow-up in 2005 was 1.04, which is   25

                                           Page 87                                                          Page 89
 1 also consistent with the primary analysis,          1 COMMONWEALTH OF MASSACHUSETTS )
 2 correct?                                            2 SUFFOLK, SS.                 )
 3     A. Yes. I also report the 95 percent            3         I, MAUREEN O'CONNOR POLLARD, RMR, CLR,
 4 confidence interval around that estimate, which     4 and Notary Public in and for the Commonwealth of
 5 is from .7 to 1.57.                                 5 Massachusetts, do certify that on the 23rd day
 6     Q. Okay. And so when the analysis was           6 of January, 2018, at 2:39 o'clock, the person
 7 truncated, that resulted in the risk ratio of       7 above-named was duly sworn to testify to the
 8 the highest exposure group going up, correct?       8 truth of their knowledge, and examined, and such
 9         MR. LASKER: Objection to form.              9 examination reduced to typewriting under my
10     A. Well, the confidence intervals for          10 direction, and is a true record of the testimony
11 this estimate and the estimate of the primary      11 given by the witness. I further certify that I
12 analysis and the results of the two other          12 am neither attorney, related or employed by any
13 sensitivity analyses all overlap and they all      13 of the parties to this action, and that I am not
14 contain the null value. And so, you know, I        14 a relative or employee of any attorney employed
15 think I mentioned earlier on, you know, we don't   15 by the parties hereto, or financially interested
16 dwell too closely on this point estimate because   16 in the action.
17 it is, you know, subject to random error. The      17         In witness whereof, I have hereunto
18 confidence interval takes that into account.       18 set my hand this 5th day of February, 2018.
19         So I would interpret this result of        19
20 1.04 the same way that I would interpret the       20        ______________________________________
21 result in the primary analysis of -- there's       21        MAUREEN O'CONNOR POLLARD, NOTARY PUBLIC
22 NHL, for the highest quartile to no exposure of    22        Realtime Systems Administrator
23 0.87 in exactly the same way, and that's being     23        CSR #149108
24 consistent with no association.                    24
25         MR. WOOL: That's it. I don't have          25


Golkow Litigation Services                                                             Page 23 (86 - 89)
 Case 3:16-md-02741-VC Document 1137-12 Filed 02/16/18 Page 25 of 25
            Confidential - Pursuant to Protective Order
                                           Page 90                                              Page 92
 1       INSTRUCTIONS TO WITNESS                      1
 2                                                    2        ACKNOWLEDGMENT OF DEPONENT
                                                      3
 3           Please read your deposition over         4           I, __________________________, do
 4 carefully and make any necessary corrections.        Hereby certify that I have read the foregoing
 5 You should state the reason in the appropriate     5 pages, and that the same is a correct
 6 space on the errata sheet for any corrections        transcription of the answers given by me to the
                                                      6 questions therein propounded, except for the
 7 that are made.
 8
                                                        corrections or changes in form or substance, if
             After doing so, please sign the          7 any, noted in the attached Errata Sheet.
 9 errata sheet and date it. It will be attached      8
10 to your deposition.                                9   _________________________________
11           It is imperative that you return             JENNIFER R. RIDER, ScD    DATE
                                                     10
12 the original errata sheet to the deposing         11
13 attorney within thirty (30) days of receipt of    12
14 the deposition transcript by you. If you fail     13
15 to do so, the deposition transcript may be        14
                                                     15
16 deemed to be accurate and may be used in court.
                                                     16 Subscribed and sworn
17
                                                        To before me this
18                                                   17 ______ day of _________________, 20____.
19                                                   18 My commission expires: ________________
                                                     19
20
                                                          _______________________________________
21                                                   20   Notary Public
22                                                   21
23                                                   22
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24
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25                                                   25

                                         Page 91                                                Page 93
 1        ------                                      1       LAWYER'S NOTES
          ERRATA                                      2 PAGE LINE
 2        ------                                      3 ____ ____ _______________________________
 3 PAGE LINE CHANGE                                   4 ____ ____ _______________________________
 4 ____ ____ _________________________________        5 ____ ____ _______________________________
 5   REASON: __________________________________       6 ____ ____ _______________________________
 6 ___ ____ __________________________________        7 ____ ____ _______________________________
 7   REASON: __________________________________       8 ____ ____ _______________________________
 8 ____ ____ _________________________________
                                                      9 ____ ____ _______________________________
 9   REASON: __________________________________      10 ____ ____ _______________________________
10 ____ ____ _________________________________
                                                     11 ____ ____ _______________________________
11   REASON: __________________________________      12 ____ ____ _______________________________
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13   REASON: __________________________________
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15   REASON: _________________________________
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17   REASON: _________________________________
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19   REASON: _________________________________
20 ____ ____ _________________________________       20 ____ ____ _______________________________
21   REASON: _________________________________       21 ____ ____ _______________________________
22 ____ ____ _________________________________       22 ____ ____ _______________________________
23                                                   23 ____ ____ _______________________________
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Golkow Litigation Services                                                  Page 24 (90 - 93)
